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   EXHIBIT                                            A
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From:           Johann, Pamela (USACAN)
To:             Oren Nimni
Cc:             Ernest Galvan; Kara Janssen; Amaris Montes
Subject:        RE: [EXTERNAL] Re: California Coalition for Women Prisoners v. US [IMAN-DMS.FID66630]
Date:           Wednesday, October 18, 2023 10:58:55 AM




[EXTERNAL MESSAGE NOTICE]
Thank you.

Pam Johann
Assistant United States Attorney, Deputy Civil Chief
Northern District of California
T: 415-436-7025

From: Oren Nimni <oren@rightsbehindbars.org>
Sent: Wednesday, October 18, 2023 10:55 AM
To: Johann, Pamela (USACAN) <PJohann@usa.doj.gov>
Cc: Ernest Galvan <EGalvan@rbgg.com>; Kara Janssen <KJanssen@rbgg.com>; Amaris Montes
<amaris@rightsbehindbars.org>
Subject: Re: [EXTERNAL] Re: California Coalition for Women Prisoners v. US [IMAN-DMS.FID66630]

Hi Pam,

This works for Plaintiffs. Feel free to file.

Best,


On Wed, Oct 18, 2023 at 1:40 PM Johann, Pamela (USACAN) <Pamela.Johann@usdoj.gov> wrote:

  Hi Kara,

  Confirming that this schedule works for the AUSA who will be handling the case, with one minor
  adjustment: November 10 is actually a federal holiday (Veterans Day), so I have modified the date
  for Defendants’ response to the next day--November 13. Please see attached. Let me know if this
  looks good for filing.

  Thanks,
  Pam

  Pam Johann
  Assistant United States Attorney, Deputy Civil Chief
  Northern District of California
  T: 415-436-7025
    Case 4:23-cv-04155-YGR Document 52-2 Filed 11/24/23 Page 3 of 16


From: Johann, Pamela (USACAN)
Sent: Tuesday, October 17, 2023 5:07 PM
To: Ernest Galvan <EGalvan@rbgg.com>; Kara Janssen <KJanssen@rbgg.com>
Cc: Oren Nimni <oren@rightsbehindbars.org>; Amaris Montes <amaris@rightsbehindbars.org>
Subject: RE: [EXTERNAL] Re: California Coalition for Women Prisoners v. US [IMAN-
DMS.FID66630]

I think that will work for us, but I will need to check in with the AUSA who will be handling this.
What were you thinking for a hearing date?

Assuming this will work, I will prepare a stipulation and send it over tomorrow morning.

Thanks,
Pam

Pam Johann
Assistant United States Attorney, Deputy Civil Chief
Northern District of California
T: 415-436-7025

From: Ernest Galvan <EGalvan@rbgg.com>
Sent: Tuesday, October 17, 2023 5:02 PM
To: Johann, Pamela (USACAN) <PJohann@usa.doj.gov>; Kara Janssen <KJanssen@rbgg.com>
Cc: Oren Nimni <oren@rightsbehindbars.org>; Amaris Montes <amaris@rightsbehindbars.org>
Subject: RE: [EXTERNAL] Re: California Coalition for Women Prisoners v. US [IMAN-
DMS.FID66630]

Responding for Kara who is in transit, we can work with your PI briefing schedule if we push the
reply to Nov. 24.

Thanks.

Ernest Galvan
ROSEN BIEN GALVAN & GRUNFELD LLP
101 Mission Street, 6th Floor
San Francisco, CA 94105
(415) 433-6830 (telephone)
(415) 296-2293 (direct)
(415) 694-3606 (mobile)
(415) 433-7104 (fax)
egalvan@rbgg.com


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at rbg@rbgg.com
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From: Johann, Pamela (USACAN) <Pamela.Johann@usdoj.gov>
Sent: Tuesday, October 17, 2023 4:57 PM
To: Kara Janssen <KJanssen@rbgg.com>
Cc: Oren Nimni <oren@rightsbehindbars.org>; Ernest Galvan <EGalvan@rbgg.com>; Amaris
Montes <amaris@rightsbehindbars.org>
Subject: RE: [EXTERNAL] Re: California Coalition for Women Prisoners v. US [IMAN-
DMS.FID66630]

[EXTERNAL MESSAGE NOTICE]
Hi Kara,

I am hoping to follow up on this proposal. Can you get back to me as soon as possible?

Thanks,
Pam

Pam Johann
Assistant United States Attorney, Deputy Civil Chief
Northern District of California
T: 415-436-7025

From: Johann, Pamela (USACAN)
Sent: Tuesday, October 17, 2023 10:54 AM
To: Kara Janssen <KJanssen@rbgg.com>
Cc: Oren Nimni <oren@rightsbehindbars.org>; Ernest Galvan <EGalvan@rbgg.com>; Amaris
Montes <amaris@rightsbehindbars.org>
Subject: RE: [EXTERNAL] Re: California Coalition for Women Prisoners v. US [IMAN-
DMS.FID66630]

Thanks for your message, Kara.

November 3 simply isn’t enough time for new counsel to prepare the opposition. As a
compromise position, I would propose November 10 for the PI motion, with your reply due on
November 17. As I mentioned in our call yesterday, I do not think that briefing of the class cert
motion is warranted/necessary at this time and that there is no reason that the stay should be
lifted as to that motion. I propose that it be part of the meet and confer leading up to the
December 4 Case Management Statement.

Please let me know if this works for you, and we can prepare a stipulation.

Thanks,
Pam
    Case 4:23-cv-04155-YGR Document 52-2 Filed 11/24/23 Page 5 of 16


Pam Johann
Assistant United States Attorney, Deputy Civil Chief
Northern District of California
T: 415-436-7025

From: Kara Janssen <KJanssen@rbgg.com>
Sent: Tuesday, October 17, 2023 9:42 AM
To: Johann, Pamela (USACAN) <PJohann@usa.doj.gov>
Cc: Oren Nimni <oren@rightsbehindbars.org>; Ernest Galvan <EGalvan@rbgg.com>; Amaris
Montes <amaris@rightsbehindbars.org>
Subject: RE: [EXTERNAL] Re: California Coalition for Women Prisoners v. US [IMAN-
DMS.FID66630]

Hi Pam,

On the call yesterday you proposed the Parties agree to a response deadline of November 17 for
the PI motion, at which point a response would actually be filed, and asked the parties agree that
the current stay to December 18, 2023 otherwise applies. We have conferred and are open to
discussion a response date of November 3rd for the PI and class cert motion with our reply due
the following Friday November 10th. As I mentioned I am out of the office on a monitoring tour
today and have copied my co-counsel who are available to follow-up about this as needed.

Best,

Kara


From: Johann, Pamela (USACAN) <Pamela.Johann@usdoj.gov>
Sent: Monday, October 16, 2023 2:56 PM
To: Kara Janssen <KJanssen@rbgg.com>
Subject: RE: [EXTERNAL] Re: California Coalition for Women Prisoners v. US [IMAN-
DMS.FID66630]

[EXTERNAL MESSAGE NOTICE]
Hi Kara,

I think I may be in a position now to propose a better solution to for the schedule for this case.
Are you available for a quick chat?

Thanks,
Pam

Pam Johann
Assistant United States Attorney, Deputy Civil Chief
Northern District of California
    Case 4:23-cv-04155-YGR Document 52-2 Filed 11/24/23 Page 6 of 16


T: 415-436-7025

From: Kara Janssen <KJanssen@rbgg.com>
Sent: Friday, October 13, 2023 1:00 PM
To: Johann, Pamela (USACAN) <PJohann@usa.doj.gov>; Oren Nimni
<oren@rightsbehindbars.org>
Cc: Ernest Galvan <EGalvan@rbgg.com>; Susan Beaty <susan@ccijustice.org>; Amaris Montes
<amaris@rightsbehindbars.org>
Subject: RE: [EXTERNAL] Re: California Coalition for Women Prisoners v. US [IMAN-
DMS.FID66630]

1:30 may be easier for our east coast co-counsel, either time works for me.

Kara


From: Johann, Pamela (USACAN) <Pamela.Johann@usdoj.gov>
Sent: Friday, October 13, 2023 12:59 PM
To: Oren Nimni <oren@rightsbehindbars.org>; Kara Janssen <KJanssen@rbgg.com>
Cc: Ernest Galvan <EGalvan@rbgg.com>; Susan Beaty <susan@ccijustice.org>; Amaris Montes
<amaris@rightsbehindbars.org>
Subject: RE: [EXTERNAL] Re: California Coalition for Women Prisoners v. US [IMAN-
DMS.FID66630]

[EXTERNAL MESSAGE NOTICE]
I apologize—I misread my calendar. My current meeting is 2-3. Can we talk either before (1:30)
or at 3:00?

Pam Johann
Assistant United States Attorney, Deputy Civil Chief
Northern District of California
T: 415-436-7025

From: Oren Nimni <oren@rightsbehindbars.org>
Sent: Friday, October 13, 2023 12:57 PM
To: Kara Janssen <KJanssen@rbgg.com>
Cc: Johann, Pamela (USACAN) <PJohann@usa.doj.gov>; Ernest Galvan <EGalvan@rbgg.com>;
Susan Beaty <susan@ccijustice.org>; Amaris Montes <amaris@rightsbehindbars.org>
Subject: [EXTERNAL] Re: California Coalition for Women Prisoners v. US [IMAN-DMS.FID66630]

That also works for me. Thank you.

On Fri, Oct 13, 2023, 3:55 PM Kara Janssen <KJanssen@rbgg.com> wrote:
  Thank you for letting us know. That time on Monday works for me. I will move the invite now to
  Monday assuming it works for Oren, if not we can adjust the time.
  Case 4:23-cv-04155-YGR Document 52-2 Filed 11/24/23 Page 7 of 16



Best,

Kara


From: Johann, Pamela (USACAN) <Pamela.Johann@usdoj.gov>
Sent: Friday, October 13, 2023 12:50 PM
To: Kara Janssen <KJanssen@rbgg.com>
Cc: Oren Nimni <oren@rightsbehindbars.org>; Ernest Galvan <EGalvan@rbgg.com>; Susan
Beaty <susan@ccijustice.org>; Amaris Montes <amaris@rightsbehindbars.org>
Subject: RE: California Coalition for Women Prisoners v. US [IMAN-DMS.FID66630]

[EXTERNAL MESSAGE NOTICE]
Hi all,

Can we move our call to Monday? I don’t have any specific information for you at this point
and will likely not before the end of the day, but the representation issue is being actively
worked on, and I hope to have information that I can pass along on Monday. I have a meeting
from 1 to 2; perhaps we can talk at 2:00 PT?

Thanks,
Pam

Pam Johann
Assistant United States Attorney, Deputy Civil Chief
Northern District of California
T: 415-436-7025

From: Kara Janssen <KJanssen@rbgg.com>
Sent: Tuesday, October 10, 2023 9:09 AM
To: Johann, Pamela (USACAN) <PJohann@usa.doj.gov>
Cc: Oren Nimni <oren@rightsbehindbars.org>; Ernest Galvan <EGalvan@rbgg.com>; Susan
Beaty <susan@ccijustice.org>; Amaris Montes <amaris@rightsbehindbars.org>
Subject: [EXTERNAL] RE: California Coalition for Women Prisoners v. US [IMAN-DMS.FID66630]

10:30 am PT works. We can use my conference line for the call, dial 701-801-1220 and when
prompted enter access code 885-463-951. I will send a calendar invite.

Best,

Kara


From: Johann, Pamela (USACAN) <Pamela.Johann@usdoj.gov>
Sent: Tuesday, October 10, 2023 7:36 AM
 Case 4:23-cv-04155-YGR Document 52-2 Filed 11/24/23 Page 8 of 16


To: Kara Janssen <KJanssen@rbgg.com>
Cc: Oren Nimni <oren@rightsbehindbars.org>; Ernest Galvan <EGalvan@rbgg.com>; Susan
Beaty <susan@ccijustice.org>; Amaris Montes <amaris@rightsbehindbars.org>
Subject: Re: California Coalition for Women Prisoners v. US [IMAN-DMS.FID66630]

[EXTERNAL MESSAGE NOTICE]
How about 10:30?

Get Outlook for iOS

From: Kara Janssen <KJanssen@rbgg.com>
Sent: Tuesday, October 10, 2023 7:34:26 AM
To: Johann, Pamela (USACAN) <PJohann@usa.doj.gov>
Cc: Oren Nimni <oren@rightsbehindbars.org>; Ernest Galvan <EGalvan@rbgg.com>; Susan
Beaty <susan@ccijustice.org>; Amaris Montes <amaris@rightsbehindbars.org>
Subject: [EXTERNAL] Re: California Coalition for Women Prisoners v. US [IMAN-DMS.FID66630]

Hi Pam,

Our availability is more limited today than I realized. We are free from 9-10:45 PT and again
after 1 pm PT. Please let me know if there is a window in there that works for you.

Best,

Kara

Sent from my iPhone


            On Oct 9, 2023, at 4:04 PM, Kara Janssen <KJanssen@rbgg.com> wrote:

        ﻿

        Hi Pam,



        I have checked with co-counsel and are available tomorrow anytime between 9
        am and 3pm PT, please let us know when in that window works on your end and
        whether you will be circulating a video or call-in line or prefer us to do so.



        Best,



        Kara Janssen
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   Senior Counsel
   101 Mission Street, Sixth Floor

   San Francisco, CA 94105

   (415) 433-6830 (telephone)

   (415) 433-7104 (fax)

   kjanssen@rbgg.com



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   please e-mail the sender at kjanssen@rbgg.com.




   From: Johann, Pamela (USACAN) <Pamela.Johann@usdoj.gov>
   Sent: Friday, October 6, 2023 3:42 PM
   To: Kara Janssen <KJanssen@rbgg.com>
   Cc: Oren Nimni <oren@rightsbehindbars.org>; Ernest Galvan
   <EGalvan@rbgg.com>; Susan Beaty <susan@ccijustice.org>
   Subject: RE: California Coalition for Women Prisoners v. US [IMAN-DMS.FID66630]




   [EXTERNAL MESSAGE NOTICE]


   Hi Kara,



   Are you available to talk about the schedule in this matter? Please let me know if
   you have time today, or alternatively sometime on Tuesday.



   Thanks,
   Pam
Case 4:23-cv-04155-YGR Document 52-2 Filed 11/24/23 Page 10 of 16



    Pam Johann

    Assistant United States Attorney, Deputy Civil Chief

    Northern District of California

    T: 415-436-7025




    From: Kara Janssen <KJanssen@rbgg.com>
    Sent: Thursday, September 7, 2023 5:35 PM
    To: Johann, Pamela (USACAN) <PJohann@usa.doj.gov>
    Cc: Oren Nimni <oren@rightsbehindbars.org>; Ernest Galvan
    <EGalvan@rbgg.com>; Susan Beaty <susan@ccijustice.org>
    Subject: [EXTERNAL] RE: California Coalition for Women Prisoners v. US [IMAN-
    DMS.FID66630]



    Hi Pam,



    Thank you for your response. We have accepted your edits and you have our
    authority to file.



    Best,



    Kara




    From: Johann, Pamela (USACAN) <Pamela.Johann@usdoj.gov>
    Sent: Thursday, September 7, 2023 4:54 PM
    To: Kara Janssen <KJanssen@rbgg.com>
    Subject: RE: California Coalition for Women Prisoners v. US [IMAN-DMS.FID66630]




    [EXTERNAL MESSAGE NOTICE]
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    Hi Kara,



    Thanks for your markup. I propose that we split the different between Oct. 4 and
    Oct. 31 and set the response date for October 14. This moves the briefing closer
    to your proposed schedule but provides a little more time so that we may possibly
    be able to avoid going back to the Court to ask for more time.



    Given the disagreement about whether the stay applies, I think the best approach
    is to acknowledge the order and simply state that we disagree about its
    applicability.



    Please let me know if this looks good to file. I am happy to discuss this afternoon
    or tomorrow.



    Thanks,
    Pam



    Pam Johann

    Assistant United States Attorney, Deputy Civil Chief

    Northern District of California

    T: 415-436-7025




    From: Kara Janssen <KJanssen@rbgg.com>
    Sent: Thursday, September 7, 2023 12:31 PM
    To: Johann, Pamela (USACAN) <PJohann@usa.doj.gov>
    Subject: [EXTERNAL] RE: California Coalition for Women Prisoners v. US [IMAN-
    DMS.FID66630]



    Hi Pamela,



    Attached are our additional edits to the draft stip per our call yesterday. I am
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    available to discuss as needed. Thank you for your patience.



    Best,



    Kara




    From: Johann, Pamela (USACAN) <Pamela.Johann@usdoj.gov>
    Sent: Thursday, September 7, 2023 11:52 AM
    To: Kara Janssen <KJanssen@rbgg.com>
    Subject: RE: California Coalition for Women Prisoners v. US [IMAN-DMS.FID66630]




    [EXTERNAL MESSAGE NOTICE]


    Hi Kara,



    Can you let me know where you are with the proposed stipulation? We will need
    to file our administrative motion shortly if we can’t reach an agreement.



    Thanks very much,
    Pam



    Pam Johann

    Assistant United States Attorney, Deputy Civil Chief

    Northern District of California

    T: 415-436-7025




    From: Kara Janssen <KJanssen@rbgg.com>
    Sent: Tuesday, September 5, 2023 4:06 PM
    To: Johann, Pamela (USACAN) <PJohann@usa.doj.gov>
Case 4:23-cv-04155-YGR Document 52-2 Filed 11/24/23 Page 13 of 16


    Cc: Oren Nimni <oren@rightsbehindbars.org>; D Dangaran
    <d@rightsbehindbars.org>; Amaris Montes <amaris@rightsbehindbars.org>;
    Ernest Galvan <EGalvan@rbgg.com>; Ginger Jackson-Gleich <GJackson-
    Gleich@rbgg.com>; Susan Beaty <susan@ccijustice.org>
    Subject: [EXTERNAL] Re: California Coalition for Women Prisoners v. US [IMAN-
    DMS.FID66630]



    Great, you can reach me on my office line at 415-433-6830.



    Best,



    Kara

    Sent from my iPhone



                On Sep 5, 2023, at 2:56 PM, Johann, Pamela (USACAN)
                <Pamela.Johann@usdoj.gov> wrote:

            ﻿


                [EXTERNAL MESSAGE NOTICE]


            Thanks, Kara. I am available at 10:00 tomorrow. Please let me know
            the best number to reach you.



            Thanks,
            Pam



            Pam Johann

            Assistant United States Attorney, Deputy Civil Chief

            Northern District of California

            T: 415-436-7025
Case 4:23-cv-04155-YGR Document 52-2 Filed 11/24/23 Page 14 of 16



        From: Kara Janssen <KJanssen@rbgg.com>
        Sent: Tuesday, September 5, 2023 2:38 PM
        To: Johann, Pamela (USACAN) <PJohann@usa.doj.gov>
        Cc: Oren Nimni <oren@rightsbehindbars.org>; D Dangaran
        <d@rightsbehindbars.org>; Amaris Montes
        <amaris@rightsbehindbars.org>; Ernest Galvan
        <EGalvan@rbgg.com>; Ginger Jackson-Gleich <GJackson-
        Gleich@rbgg.com>; Susan Beaty <susan@ccijustice.org>
        Subject: [EXTERNAL] RE: California Coalition for Women Prisoners v.
        US [IMAN-DMS.FID66630]



        Hi Pam,



        Thank you for reaching out. I just called you and left a message on
        your voicemail. I am not available after 3 today but am available after
        10 am tomorrow morning to discuss. I am also copying my co-
        counsel.



        Best,



        Kara



        Kara Janssen

        Senior Counsel
        <image001.jpg>

        101 Mission Street, Sixth Floor

        San Francisco, CA 94105

        (415) 433-6830 (telephone)

        (415) 433-7104 (fax)

        kjanssen@rbgg.com



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        From: Johann, Pamela (USACAN) <Pamela.Johann@usdoj.gov>
        Sent: Tuesday, September 5, 2023 2:03 PM
        To: Kara Janssen <KJanssen@rbgg.com>
        Subject: California Coalition for Women Prisoners v. US




         [EXTERNAL MESSAGE NOTICE]


        Hi Kara,



        Michelle Lo received your edits to her proposed stipulation and
        asked that I follow up with you to discuss this. Are you available this
        afternoon? I have a meeting at 3:00 but am free until then, or after
        3:45.



        Thanks,

        Pam Johann




        <image002.png>



        Pam Johann | Assistant U.S. Attorney | Deputy Chief, Civil
        Division  

        Northern District of California                                                            

        450 Golden Gate Ave. | Box 36055 | San Francisco, CA 94102
Case 4:23-cv-04155-YGR Document 52-2 Filed 11/24/23 Page 16 of 16



        T: 415.436.7025 | F: 415.436.6748
